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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO
In re:                                        )
                                              )       Case No. 20-14853 JGR
Happy Beavers, LLC                            )
                                              )       Chapter 11
         Debtor.                              )

                           ANGRY BEAVERS, LLC’S NOTICE
                            PURSUANT TO 11 U.S.C. § 546(b)


        Angry Beavers, LLC (“Angry Beavers”), secured creditor herein, hereby gives notice
pursuant to 11 U.S.C. § 546(b) in lieu of seizure of property or commencement of an action (the
“Notice”) to perfect Angry Beavers’ security interest in and lien on all existing and future rents,
issues, profits and revenues derived from or arising in connection with the Debtor’s ownership or
operation of certain real property and improvements located at 697 N. Denver Avenue, #128,
Loveland, Colorado 80537 (the “Property”). In support of this Notice, Angry Beavers states as
follows:

       1.      Happy Beavers, LLC (the “Debtor”) commenced the above-captioned Chapter 11
Subchapter V case by filing its Voluntary Petition on July 17,2020 (the “Petition Date”) ,prior to
a scheduled foreclosure by Great Western Bank of its deed of trust relating to the Property.

       2.      The Debtor is indebted to Angry Beavers pursuant to a Promissory Note dated
April 26,2017 in the principal amount of $300,000.00 (the “Note”). A copy of the Note is
attached hereto as Exhibit A.

        3.     The Note is secured by a Deed of Trust dated April 26,2017 which contains,
among other things, in Paragraph 20, an Assignment of Rents, a copy of which is attached hereto
as Exhibit B. The Deed of Trust was recorded in the Office of the Clerk and Recorder of
Larimer County on April 27,2017, at Reception #20170027245. Angry Beavers, LLC executed a
Subordination Agreement with Great Western Bank, a copy of which was recorded in the Office
of the Clerk and Recorder of Larimer County on April 28,2017, at Reception # #20170027558.

       4.      The Note is also guaranteed by Richard Weingarten, Chee Wei Fong, Armed
Beavers, LLC, and Gunsmoke, LLC. A copy of the Guaranty is attached hereto as Exhibit C.
Armed Beavers, LLC is a chapter 11 debtor in Case No. 20- 14963 JGR and Gunsmoke, LLC is
a chapter 11 debtor in Case No. 20-14962 JGR.

     5.            The Note, Deed of Trust and Guaranty are hereinafter referred to as the “Loan
Documents.”

        6.     Under the terms of the Loan Documents, and in particular the Deed of Trust with
its Assignment of Rents, Angry Beavers is the assignee of all rents, issues, profits, and income
generated from the Property. Angry Beavers hereby notifies the Debtor that it does not consent to
the use of any of the rents, issues, profits, or income produced by the Property for any purpose
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whatsoever.

      7.      Without waiving or otherwise limiting any of its rights under or pursuant to the
Deed of Trust with its Assignment of Rents, Angry Beavers further states the following:

    (a) The Loan Documents provide, among other things, that all rents, profits and income of
        the Property have been assigned to Angry Beavers as additional security for the
        obligations owing under the Note. Angry Beavers hereby gives notice that, to the extent it
        does not, under applicable law, already possess a perfected interest in rents, issues, profits
        and income of the Property, Angry Beavers hereby perfects its interest in such rents,
        issues, profits and income pursuant to the applicable provisions of the Deed of Trust ,
        Note, Guaranty ,the Bankruptcy Code and applicable non-bankruptcy law.


   (b) Pursuant to 11 U.S.C. § 363(a), the rents and income generated by the Property are.
       Angry Beavers’ cash collateral. Angry Beavers does not consent to the use of its cash
       collateral by the Debtor.


   (c ) Angry Beavers notifies the Debtor that it is required to fully comply with 11 U.S.C. §
       363(c), including without limitation, the requirement that it segregate and account for all of
       Angry Beavers’ cash collateral which comes in the Debtor’s possession or control from and
       after the filing of the Chapter 11 Voluntary Petition.

                                     Respectfully submitted this 11th day of August 2020.


                                            NEMIROW PEREZ, P.C.

                                            BY: s/Nancy D. Miller
                                             Nancy D. Miller
                                             P.O. Box 1015
                                             Boulder, Colorado 80306-1015
                                             Phone: (303) 525-3196
                                             Nmiller@nemirowperez.com

                                             ATTORNEYS FOR ANGRY BEAVERS, LLC;
                                             EDWARD J. KLEN; STEPHEN J. KLEN




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                               CERTIFICATE OF SERVICE

 I hereby certify that, on August 11, 2020, a true and correct copy of the foregoing ANGRY
 BEAVERS, LLC’S NOTICE PURSUANT TO 11 U.S.C. § 546(b) was served on the
 following via CM/ECF and/or deposited in the United States Mail, first class postage post
 prepaid :


 Gerald L. Jorgensen
 Jorgensen, Brownell & Pepin
 900 S. Main St., Ste. 100
 Longmont, CO 80501-6467
 gerald@jbplegal.com

 John Smiley
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 jcsmiley@smileytrustee.com

 Alison Goldenberg
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 Denver, CO 80294-6004
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 Michael C. Payne
 1711 61st Avenue, Suite 100
 Greeley, Colorado 80634
 mpayne@cp2law.com

 US Trustee
 Byron G. Rogers Federal Building
 1961 Stout St., Ste 12-200
 Denver, CO 80294-6004

Armed Beavers, LLC
 c/o Gerald L. Jorgensen
Jorgensen, Brownell & Pepin
900 S. Main St., Ste. 100
Longmont, CO 80501-6467
gerald@jbplegal.com

 Ingrid DeFranco, Esq.
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Gunsmoke, LLC
 c/o Gerald L. Jorgensen
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900 S. Main St., Ste. 100
Longmont, CO 80501-6467
gerald@jbplegal.com

Richard Weingarten
P.O. Box 356
Erie, CO 80516

Chee Wei Fong
3751 W. 136th Avenue, Unit S2,
Broomfield, CO 80023

Happy Beavers LLC
697 N Denver Ave.
Suite 128
Loveland, CO 80537

                                                     s/ Nancy D. Miller




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